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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------------- X
                                                                :
LEONARD W. HOUSTON o/b/o Louis Houston,
Sr.,                                                            :
                                       Plaintiff,              : MEMORANDUM AND ORDER
                                                               : 99-CV-2047 (AMD) (RLM)
                         – against –
                                                               :
HIGHLAND CARE CENTER, INC.,                                    :
                                                                :
                                         Defendant.
--------------------------------------------------------------- X
ANN M. DONNELLY, United States District Judge:
                                                      : for leave to proceed in forma pauperis
        On October 12, 2022, the plaintiff filed a motion
                                                      :
(“IFP”) in his appeal of the Court’s October 4, 2022 order denying his motion for reconsideration
                                                      :
of an order issued in 2000. For the reasons that follow, the plaintiff’s motion is denied.
                                                      :
                                               BACKGROUND
                                                      :

       The plaintiff filed a complaint on behalf of his: father against the defendant on April 13,
                                                       :
1999. In a June 8, 1999 order, Magistrate Judge Roanne L. Mann ruled that the plaintiff could

not prosecute his father’s claims without counsel, and gave the plaintiff until July 19, 1999 to

retain counsel or to apply for the appointment of counsel. Judge Eugene H. Nickerson denied the

plaintiff’s application to appoint counsel, and the Second Circuit dismissed the plaintiff’s appeal

of that order. The plaintiff moved to vacate Judge Nickerson’s order but did not appear on the

date set for the hearing, or otherwise communicate with the court. Accordingly, on October 27,

2000, Judge Nickerson dismissed the case.

        Almost twenty-two years later, on September 19, 2022, the plaintiff filed a Rule 60(b)(6)

motion to set aside Judge Nickerson’s order. (ECF No. 27.) I denied the motion as untimely on

October 4, 2022. On October 12, 2022, the plaintiff appealed that decision to the Second Circuit,
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and filed a motion in this Court for leave to proceed IFP. On October 21, 2022, the Second

Circuit advised that the plaintiff’s appeal could not proceed while the IFP motion was pending in

this Court. (ECF No. 32.)

                                       LEGAL STANDARD

        A litigant’s right to proceed IFP on appeal is governed by 28 U.S.C. § 1915 and Fed. R.

App. P. 24 and is generally addressed in the first instance by the district court. See Fed. R. App.

P. 24(a)(1). “An appeal may not be taken in forma pauperis if the trial court certifies in writing

that it is not taken in good faith.” 28 U.S.C. § 1915(a)(3); United States v. Farley, 238 F.2d 575,

576 (1956) (“[I]f on consideration the trial judge is conscientiously convinced that there is no

substantial question for review and that an appeal will be futile, or if he is convinced that there is

no reasonable basis for the claims of alleged error, it is the duty of the trial judge, albeit not a

pleasant duty, to certify that the appeal is not taken in good faith.”). Whether an appeal is taken

in good faith “requires ‘an inquiry into the merits of the appeal rather than the subjective good

faith of the plaintiff.’” Robinson v. Buffalo, 16-CV-00432, 2017 WL 7731906, at *1 (W.D.N.Y.

Oct. 25, 2017) (quoting Clay v. New York National Bank, 99-CV-9857, 2001 WL 277299, at *1

(S.D.N.Y. Mar. 21, 2001)).

                                            DISCUSSION

        The plaintiff seeks IFP status on his appeal of this Court’s October 4, 2022 denial of his

Rule 60(b)(6) motion for relief from the judgment and order dismissing his complaint. Parties

seeking relief pursuant to Rule 60(b)(6) must show “extraordinary circumstances” justifying

relief. Gonzalez v. Crosby, 545 U.S. 524, 535 (2005) (citing Ackermann v. United States, 340

U.S. 193, 199 (1950)); see also Nemaizer v. Baker, 793 F.2d 58, 63 (2d Cir. 1986) (Rule 60(b)(6)

is “properly invoked only when there are extraordinary circumstances justifying relief”).

Moreover, Rule 60(b)(b) motions must be made “within a reasonable time.” Fed. R. Civ. P.


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60(c)(1). The Court “‘must scrutinize the particular circumstances of the case, and balance the

interest in finality with the reasons for delay’” when determining whether the motion was made

within a “reasonable time.” Carbone v. Cunningham, 857 F. Supp. 2d 486, 488 (S.D.N.Y. 2012)

(quoting PRC Harris, Inc. v. Boeing Co., 700 F.2d 894, 897 (2d Cir. 1983)).

       Judge Nickerson dismissed the plaintiff’s complaint on October 27, 2000, because the

plaintiff failed to appear for a hearing and stopped communicating with the Court. The Clerk of

Court issued a final judgment on November 22, 2000. The plaintiff waited almost twenty-two

years to seek reconsideration, which is not a “reasonable time.” See, e.g., Kellogg v. Strack, 269

F.3d 100, 104 (2d Cir. 2001) (finding that 26 months “constitutes a patently unreasonable delay

absent mitigating circumstances”); Rodriguez v. Mitchell, 252 F.3d 191, 201 (2d Cir. 2001) (“We

do not think that three and one-half years from the date judgment was entered is a reasonable

time [for purposes of Rule 60(b)(6)].”); Grace v. Bank Leumi Tr. Co. of N.Y., 443 F.3d 180, 191

(2d Cir. 2006) (“In a typical case, five years from the judgment to a Rule 60(b) motion would be

considered too long.”).

       Moreover, “relief [under Rule 60(b)(6)] should only be granted where the moving party

has demonstrated ‘extraordinary circumstances’ or ‘extreme hardship.’” PRC Harris, 700 F.2d

at 897. The plaintiff cites as “exceptional circumstances” the fact that he had to “attend

Bankruptcy proceedings . . . Mortgage Foreclosure proceedings . . . and New York

Condominium Act (Article 9-B) Lien proceedings” in various locations, which “caused said

Plaintiff from seeking more timely relief during the pendency of proceeding before this Court.”

(ECF No. 27 ¶ 4.) These facts do not constitute “exceptional circumstances” or “extreme

hardship” that would excuse a twenty-two-year delay.




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                                        CONCLUSION

       The Court certifies, pursuant to 28 U.S.C. § 1915(a)(3), that any appeal from the October

4, 2022 order would not be taken in good faith, and the IFP application for purposes of appeal is

denied. See Coppedge v. United States, 369 U.S. 438, 444-45 (1962).

       Pursuant to Rule 24(a)(5) of the Federal Rules of Appellate Procedure, the plaintiff may

file a motion for leave to proceed on appeal in forma pauperis in the United States Court of

Appeals for the Second Circuit within 30 days after the Clerk of this Court serves notice of entry

of this order upon him.




SO ORDERED.
                                                       s/Ann M. Donnelly
                                                     ___________________________
                                                     ANN M. DONNELLY
                                                     United States District Judge


Dated: Brooklyn, New York
       November 1, 2022




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